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                                IN THE UhIITED STATES DISTRICT COURT


                                    FOR   TIE    DISTRICT OF COLUMBIA




UNITED STATES OF     AMERTCA                        )

                                                    )

         v.                                         )       CRIMINAL NO. 2L-mj-O0047
                                                    )

                                                    )

DOMTNTC       PEZZOLA                               )



                                        NOTICE OF APPEARANCE


         COMES NOW Michael P. Scibetta and enters his appearance as pro hacvice counsel, as


lead attorneyto be noticed, for Mr. Donrinic Pezzola in the above captioned case.

                                                    Respectfu lly submitted,

                                                    MICHAEL P. SCIBETTA

                                              By:            /sl
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                                          C   :Rl'IFICATE OF SERVICE

         I hereby certify on   the 26th da / of January   2021, a copy   of same was delivered to the

parties of record, by email pursuant tD the Covid standing order and the rules of the Clerk of

Court.

                                                            tct
                                                  Michael P. Scibetta
